












Dismissed and Memorandum Opinion filed May 6, 2010.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

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&nbsp;

NO. 14-10-00353-CR

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&nbsp;

JERARDO GONZALEZ, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 412th District Court

Brazoria County, Texas

Trial Court Cause No. 59,463

&nbsp;



&nbsp;

MEMORANDUM
OPINION

After a plea of guilty, appellant was convicted of the
offense of possession of a controlled substance with intent to deliver and
sentenced to six and a half years in prison on October 14, 2009. &nbsp;No timely
motion for new trial was filed.&nbsp; Appellant’s notice of appeal was not filed
until April 12, 2010.

A defendant’s notice of appeal must be filed within thirty
days after sentence is imposed when the defendant has not filed a motion for
new trial. &nbsp;See Tex. R. App. P. 26.2(a)(1).
&nbsp;A notice of appeal which complies with the requirements of Rule 26 is
essential to vest the court of appeals with jurisdiction. &nbsp;Slaton v. State,
981 S.W.2d 208, 210 (Tex. Crim. App. 1998). &nbsp;If an appeal is not timely
perfected, a court of appeals does not obtain jurisdiction to address the
merits of the appeal. &nbsp;Under those circumstances it can take no action other
than to dismiss the appeal. &nbsp;Id.

Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

&nbsp;

Panel consists of Justices
Anderson, Frost, and Seymore.

Do Not Publish — Tex. R. App. P. 47.2(b).

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